Case 3:15-cv-00775-RGJ-CHL Document 50 Filed 07/26/18 Page 1 of 2 PageID #: 339




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

    ZACHARY TAYLOR,                  )
                                     )
         PLANITFF,                   )                          RGJ
                                                                ----
                                     ) CASE NO. 3:15-CV-00775-DJH-CHL
         V.                          )     Electronically Filed
                                     )
    WELTMAN, WEINBERG & REIS, CO., )
                                     )
         AND                         )
                                     )
    BOSTON PORTFOLIO ADVISORS, INC., )
                                     )
         DEFENDANTS.                 )
                                     )

       JOINT STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE

             The parties to this action, acting through counsel, and pursuant to Federal Rule of

    Civil Procedure 41(a)(1)(A)(ii), hereby stipulate, in consideration of a negotiated

    settlement executed by them, to the Dismissal With Prejudice of this action, including all

    claims stated herein against all parties, with each party to bear its own attorney's fees and

    costs.

             IT IS HEREBY ORDERED THAT the above-referenced action be and hereby

    is DISMISSED WITH PREDJUDICE with respect to all parties, stricken from the

    Court’s docket with each party to be responsible for his or its own costs.

    SO ORDERED.
Case 3:15-cv-00775-RGJ-CHL Document 50 Filed 07/26/18 Page 2 of 2 PageID #: 340




    HAVING SEEN AND AGREED:

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